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   B104 (FORM 104) (08/07)

            ADVERSARY PROCEEDING COVER SHEET                                                       ADVERSARY PROCEEDING NUMBER
                                                                                                   (Court Use Only)
                    (Instructions on Reverse)

PLAINTIFFS                                                                          DEFENDANTS
William E. Welker                                                                   U.S. Department of Housing and Urban Development
                                                                                    aka, Secretary of Housing and Urban Development

ATTORNEYS (Firm Name, Address, and Telephone No.)                                   ATTORNEYS (If Known)
Robert M. Matson
Akin, Webster & Matson, P.C.
P.O. Box 1773
Macon, GA 31202
(478) 742-1889


PARTY (Check One Box Only)                         PARTY (Check One Box Only)
Ƒ Debtor
✔           Ƒ U.S. Trustee/Bankruptcy Admin        Ƒ Debtor      Ƒ U.S. Trustee/Bankruptcy Admin
Ƒ Creditor  Ƒ Other                                Ƒ✔ Creditor   Ƒ Other
Ƒ Trustee                                          Ƒ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

Complaint to determine extent of lien and secured status pursuant to 11 U.S.C. § 506(a).



                                                                        NATURE OF SUIT
           (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


Ƒ                                                                                   Ƒ
      FRBP 7001(1) – Recovery of Money/Property                                     FRBP 7001(6) – Dischargeability (continued)

Ƒ                                                                                   Ƒ
      11-Recovery of money/property - §542 turnover of property                        61-Dischargeability - §523(a)(5), domestic support


Ƒ                                                                                   Ƒ
      12-Recovery of money/property - §547 preference                                   68-Dischargeability - §523(a)(6), willful and malicious injury


Ƒ                                                                                   Ƒ
      13-Recovery of money/property - §548 fraudulent transfer                          63-Dischargeability - §523(a)(8), student loan
      14-Recovery of money/property - other                                             64-Dischargeability - §523(a)(15), divorce or separation obligation


                                                                                    Ƒ
                                                                                           (other than domestic support)

Ƒ
      FRBP 7001(2) – Validity, Priority or Extent of Lien                               65-Dischargeability - other
  ✔   21-Validity, priority or extent of lien or other interest in property


                                                                                    Ƒ
                                                                                    FRBP 7001(7) – Injunctive Relief

Ƒ
      FRBP 7001(3) – Approval of Sale of Property
                                                                                    Ƒ
                                                                                       71-Injunctive relief – imposition of stay
      31-Approval of sale of property of estate and of a co-owner - §363(h)             72-Injunctive relief – other


Ƒ
      FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                    Ƒ
                                                                                    FRBP 7001(8) Subordination of Claim or Interest
      41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                       81-Subordination of claim or interest


Ƒ
      FRBP 7001(5) – Revocation of Confirmation
                                                                                    Ƒ
                                                                                    FRBP 7001(9) Declaratory Judgment
      51-Revocation of confirmation
                                                                                       91-Declaratory judgment


Ƒ
      FRBP 7001(6) – Dischargeability
                                                                                    Ƒ
                                                                                    FRBP 7001(10) Determination of Removed Action

Ƒ
      66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims                  01-Determination of removed claim or cause
      62-Dischargeability - §523(a)(2), false pretenses, false representation,


Ƒ                                                                                   Ƒ
           actual fraud                                                             Other

                                                                                    Ƒ
      67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny       SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                               (continued next column)                                  02-Other (e.g. other actions that would have been brought in state court
                                                                                            if unrelated to bankruptcy case)
Ƒ Check if this case involves a substantive issue of state law                      Ƒ Check if this is asserted to be a class action under FRCP 23
Ƒ Check if a jury trial is demanded in complaint                                    Demand $
Other Relief Sought
determination of extent and status of lien
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                  BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                   BANKRUPTCY CASE NO.
William E. Welker                                16-50742
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
Middle                                                                Macon                             Austin E. Carter
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)


/s/ Robert M. Matson


DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
7/14/16                                                               Robert M. Matson



                                                        INSTRUCTIONS

           The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding Cover
 Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic Case
 Filing system (CM/ECF). (CM/ECF captures the information on Form 104 as part of the filing process.) When completed,
 the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the information to
 process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF GEORGIA
                                MACON DIVISION

IN RE:                         )                      CASE NO. 16-50742 AEC
                               )
WILLIAM E. WELKER              )
                               )
      DEBTOR                   )                      CHAPTER 13
                               )
WILLIAM E. WELKER              )
                               )                      ADVERSARY PROCEEDING
      PLAINTIFF                )                      NO.
                               )
V.                             )
                               )
U.S. DEPARTMENT OF HOUSING AND )
URBAN DEVELOPMENT              )
AKA, SECRETARY OF HOUSING AND )
URBAN DEVELOPMENT              )
                               )
      DEFENDANT                )

  COMPLAINT TO DETERMINE EXTENT OF LIEN AND SECURED STATUS

         William E. Welker, Debtor in the above-referenced case, files this Complaint

against U.S. Department of Housing and Urban Development (“HUD”) pursuant to 11

U.S.C. § 506(a) seeking a determination of the extent of its lien and secured status in this

case. In support of his Complaint, the Debtor shows the Court the following:

                                             1.

         The Court has jurisdiction over this case and adversary proceeding pursuant to 28

U.S.C. § 1334.

                                             2.

         The Court has personal jurisdiction over HUD via consent, for it filed a proof of

claim in this case. HUD can be served pursuant to Fed.R.Bankr.P. 7004(b)(5) by

delivering a copy of the complaint and summons via first class mail to G.F. “Pete”
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Peterman, Acting United States Attorney, P.O. Box 1702, Macon, GA 31202 and to

Loretta E. Lynch, Attorney General, United States Department of Justice, 950

Pennsylvania Avenue, NW, Washington, D.C. 20530.

                                              3.

       Venue is proper in this Court pursuant to 28 U.S.C. § 1409.

                                              4.

       This adversary proceeding arises out of and relates to the Debtor’s Chapter 13

case and constitutes a core proceeding under 28 U.S.C. § 157(b)(2)(K).

                                              5.

       The Debtor filed his petition seeking relief under Chapter 13 of the Bankruptcy

Code in this Court on April 12, 2016.

                                              6.

       The Debtors listed real property consisting of his principal residence at 179

Griswoldville Short Cut, Macon, GA 31217 (“Property”) in Schedule A/B. The value of

the Property is $50,000.00.

                                              7.

       JP Morgan Chase Bank, N.A. (“Chase”) has a claim secured by a first priority

security deed on the Property evidenced by the security deed filed at Book 654, Page 550

in the deed records of the Superior Court of Jones County, Georgia and the modified

security deed filed at Book 879, Page 627. The value of Chase’s claim secured by the

first priority security deed is $93,842.00.
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                                             8.

       HUD filed proof of claim no. 2 in this case in the amount of $3,318.05. The

claim is allegedly secured by the Property evidenced by a subordinate mortgage recorded

at Book 879, Pages 637-641 on April 22, 2014 in the deed records of the Superior Court

of Jones County, Georgia. A copy of HUD’s subordinate mortgage is attached as Exhibit

“A”.

                                             9.

       HUD’s claim secured by the subordinate mortgage on the Property is a wholly

unsecured claim, for there is no equity in the Property that attaches to the claim.

       WHEREFORE, the Plaintiff prays for the following relief:

       (1) The Court examine HUD’s subordinate mortgage on the Property and
           determine that HUD’s lien does not attach to any equity in the Property.
       (2) The Court enter a judgment declaring that upon discharge, the subordinate
           mortgage in favor of HUD recorded at Book 879, Pages 637-641 in the deed
           records of the Superior Court of Jones County, Georgia is void and cancelled
           of record.
       (3) The Court enter a judgment that proof of claim no. 2 filed by HUD should be
           considered and treated as a non-priority unsecured claim.
       (4) Other relief that is equitable and just.

       This 14th day of July, 2016.


                                               /s/ Robert M. Matson
Akin, Webster & Matson, P.C.                  Robert M. Matson
P.O. Box 1773                                 Attorney for Plaintiff
Macon, GA 31202                               State Bar No. 477102
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rmatson@akin-webster.com
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